Case 7:19-cr-00004-MFU-JCH Document 40 Filed 05/23/19 Page 1 of 1 Pageid#: 78
                 CRIMINAL MINUTES - PRETRIAL CONFERENCE

Case No.:7:19CR00004                          Date: 5/23/19


USA v. Kelly, et al

Defendant(s): Tyrek Kelly, -001;                      Counsel:       Rick Derrico, CJA; Allegra
James Hale, -002                                      Black, FPD


PRESENT:        Judge: Michael F. Urbanski, CUSDJ            Time in Court: 11:25-11:40 15 minutes
                Deputy Clerk: Kristin Ayersman
                Court Reporter: JoRita Meyer
                U. S. Attorney: Andrew Bassford
                Case Agent: none
                USPO: none
                Interpreter: none

( ) Plea agreement filed with court
( ) Defendant will enter Guilty Plea w/o Plea Agreement
(x) Plea negotiations ongoing for Mr. Kelly – counsel Derrico informs the court that in all likelihood there
should be a PA forthcoming.
(x) Proceeding to Trial - Ms. Black asks for a continuance – new counsel to be assigned in her office, as
counsel is leaving FPD – states that there may be a suppression issue that needs to be addressed. Court
asks if new counsel would be able to be ready for 6/24 trial date – unsure. US believes a two day trial.
FPD states that Mr. Hale would prefer not to continue this trial – court asks dft to come to podium and
discusses the posture of his case with him. Dft would like counsel appointed by court – concerned about
PTM, unable to meet with counsel until now. Court will not decide issue today – wants dft to discuss with
new counsel (issue of going to trial as scheduled and suppression motion he intends to file), and based
on Ms. Black’s comments, the court will her to w/d from case today. Court directs the clerk to appt CJA
counsel today and meet with dft. Court asks US if there are any conflicts – Mr. Lingafelt/his firm, M.
Derrico. Court will ask CJA counsel to meet with dft tomorrow at the RCJ. That counsel will report back
to court about trial date. All parties agree to direction of court, no objection to how court will be
proceeding with this case.
( ) Deft. remains on bond
(x) Defts remanded to custody.
( ) Motions hearing held.
